Case 1:05-cv-01105-.]DT-STA Document 9 Filed 07/25/05 Page 1 of 4 x Page|D 9

:“'\ »£?l/ §
05__/ \
IN THE UNITED STATES DISTRICT COURT 01 go

FOR THE WESTERN DISTRICT OF TENNESSEE s, 25 P”
WESTERN DIVISION €zg,§,{':;h;@ _ /~’53
l FJ,§/#Y@
CHERYL A. MARTIN, ) " Jl€/FS@C¢Q’@/’
)
Plaintifl`, )
)
v. ) NO. l:05-1105-T/An
)
JOHN E. POTTER, Postmaster General )
UNITED STATES POSTAL SERVICE )
and MAXINE NIXON )
)
Defendant. )

 

RULE ]6(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference Set by Written notice, the following dates Were
established as the final dates fer:

INITIAL DISCLOSURES (RULE 26(3)(1)): August 12, 2005

JOINING PARTIES:
for Plaintiff: September 29, 2005
For Defendant: September 29, 2005

AMENDING PLEADINGS:

for Plaintiff: Septernber 29, 2005
for Defendant: September 29, 2005

COMPLETING ALL DISCOVERY:

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES and
REQUESTS FOR ADMISSIONS: Mal‘ch 28, 2006

Thls document entered on the docket sheet ln compliance

with nme ss and.-'or_rs (a) FRcP on Q'] --51 if ~' 615

Case 1:05-cv-01105-.]DT-STA Document 9 Filed 07/25/05 Page 2 of 4 Page|D 10

(b) EXPERT DISCLOSURE (Rule 26(a)(2)):
(i) Plaintiff’s Experts: January 27, 2006
(ii) Defendant’s Experts: February 28, 2006
(iii) Supplementation under Rule 26(e): 10 days after Defendant’s
disclosure

(c) DEPOSITIONS OF EXPERTS: March 28, 2006
FILING DISPOSITIVE MOTIONS: l\/Iarch 20, 2006
FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(3)(3)):

(a) for Plaintiff: April 25, 2006
(b) for Defendant'. l\/Iay 10, 2006

Parties shall have ten (10) days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last four (4) days and is SET for JURY TRIAL on
June 19, 2006. A joint pre-trial order is due on Friday, June 9, 2006. In the event the parties are

unable to agree on a joint pretrial order, the parties must notify the court at least ten days before
trial.

OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. F or examp]e, if the FRCP allow 30 days for a party to respond, then the
discovery must be submitted at least 30 days prior to the deadline for completion of discovery

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection Which is the subject
of the motion if the default occurs Within 30 days of the discovery deadline, unless the time for
filing of Such motion is extended for good cause shoWn, or any objection to the default, response,
or answer shall be Waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a
proposed Order and a Certiticate of Consu]tation.

The opposing party may tile a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court, If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

Case 1:05-cv-01105-.]DT-STA Document 9 Filed 07/25/05 Page 3 of 4 Page|D 11

At this time, the parties have not given consideration to whether they wish to consent to
trial before the magistrate judge. The parties will file a written consent form with the court
should they decide to proceed before the magistrate judge.

The parties are encouraged to engage in court-annexed attorney mediation or private
mediation on or before the close of discoverv.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or

extended
cS./ howe /`o@.oc_

S. THOl\/IAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Date: w 25 2.00.\/
C/ ' '

IT l_S SO ORDERED.

APPROVED FOR ENTRY:

Pentecost, Glenn & Rudd, PLLC

 

M% (BPR #023106)
torne Plaintiff

106 Stonebridge

Phone: 731 668-5995

Fax: 73l-668-7l63

Terrell L. Harris
United States Attorney

By: [‘/llA/\Mj* /'[ f£\ r\\¢` .`
HarriettMiller Halmon 'Fw /.¢,-¢¢

Assistant U. S. Attorney

 

UNIED` sArer ITRICT oURr - wErRNEDISTRCT oF ENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 1:05-CV-01105 was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

Harriett Miller Halrnon
167 North 1\/lain7 Suite 800
1\/lemphis7 TN 38103

J on A. York

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

Honorable J ames Todd
US DISTRICT COURT

